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              IN THE UNITED STATES DISTRICT COURT FOR THE
                      NORTHERN DISTRICT OF FLORIDA
                          TALLAHASSEE DIVISION


UNITED STATES OF AMERICA

v.                                             CASE NO. 4:18cr76-RH-CAS

JOHN THOMAS BURNETTE.

                  Defendant.

____________________________________/


                    ORDER ALLOWING THE DEFENDANT TO
                   AMEND HIS WITNESS AND EXHIBIT LISTS,
                 REQUIRING THE GOVERNMENT TO REFORMAT
                 ITS DISCOVERY, AND DENYING THE MOTIONS
                      TO DISMISS, SEVER, AND CONTINUE


         For the reasons set out on the record of the hearing on August 6, 2019 and

upon full review of the record and the parties’ submissions,

         IT IS ORDERED:

         1. The defendant John Thomas Burnette’s motion to sever, ECF No. 112, is

denied as moot.

         2. Mr. Burnette’s motion to dismiss, ECF No. 113, is denied.

         3. Mr. Burnette’s motion to continue the trial, ECF No. 124, is denied.




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         4. Mr. Burnette’s motions, ECF Nos. 124 and 126, to extend the deadline to

serve his witness and exhibit lists are granted in part. Mr. Burnette may serve

amended witness and exhibit lists by August 8, 2019.

         5. By August 22, 2019, the government must again provide to Mr. Burnette’s

attorneys the documents the government provided earlier—this time using

Relativity software. Any further document production must use Relativity

software. The attorneys for both sides should confer to ensure compatibility of

their respective versions of Relativity. This paragraph does not apply to documents

retained in the government’s possession for viewing by, but not copying for, Mr.

Burnette’s attorneys.

         SO ORDERED on August 6, 2019.

                                        s/Robert L. Hinkle
                                        United States District Judge




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